Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 1 of 74
POLIO
BIO C4

     
 

Fill in this information to identify your case:

a FILED ORLANDO DIVISION
United States Bankruptcy Court for the:

Middle District of Florida 2078 FEB | 0 PM 2: i2

| Case number (# known): Boe are filing under: u.s. GAHK UPTCY COURT

R
MIDDLE DIST OF FLORIDA

QJ Check if this is an
amended filing

() Chapter 11
Q) Chapter 12
C) Chapter 13

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
Joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the Spouses Separately, the form uses Debtor 7 and

Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debfor 7 in all of the forms.

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information, If more space fs needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

EE teensy Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your
government-issued picture Kathaleen -
identification (for example, First name First name
your driver's license or Marie
passport). Middle name Middle name
Bring your picture Walter Allen
identification to your meeting —- Last name Last name
with the trustee.
Suffix (Sr., Jr, (1, WI) Suffix (Sr, Jr. I, Ill)
2. All other names you Kathaleen
have used in the last 8 First name Firstname
years Marie
Include your married or Middle name Middle name
maiden names. Walter
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security mmx uK-_ 7 4 9 0 RAK RK
number or federal OR OR
Individual Taxpayer 9 9
Identification number i WO XX
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 2 of 74

Debtor 1

Kathaleen Marie Walter Allen

 

First Name: Middle Name

Last Naina

Case number (if known},

 

Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

Wi i have not used any business names or EINs.

 

Business name

 

Business name

About Debtor 2 (Spouse Only in a Joint Case}:

L) | have not used any business names or EINs.

 

Business name

 

Business name

 

 

 

 

 

 

BIN FINO
EN 0 EN
5. Where you live lf Debtor 2 lives at a different address:
5002 Whalers Way
Number Street Number Street
Orlando FL 32822
City State ZIP Code City State ZIP Code
(> ¥
USA Drange Cort
County Nd ON County

If your mailing address is different from the one
ahove, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Cade City State ZIP Code
6. Why you are choosing Cheek one: Check one:

this district to file for
bankruptcy

Official Form 101

wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

QC) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy

QC) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

( have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

page 2
Debtor 7

Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 3 of 74

First Name

Kathaleen Marie Walter Allen

Middle Name

Last Name

a Tell the Court About Your Bankruptcy Case

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing te file
under A Chapter 7
L) Chapter 11
C) Chapter 12
QC) Chapter 13
8. How you will pay the fee will pay tne entire fee when | file my petition. Please check wi @ clerk's office in your
H ill the fi Ot will th tire fe hen | fil tition. P| heck with the clerk's office in y
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
W Ineed to pay the fee in installments. if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A),
(J I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and yOu are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for ONo
bankruptcy within the
Inet 8 years? Wes. district Of Maryland wren 06/09/2015 case number 15-18174
: MM / DD /YYYY
District When Case number
MM/ DD /Y¥YYY
District When Case number
MM/ DDS YYYY
10. Are any bankruptcy W No
cases pending or being
filed bya spouse who is C] Yes. Debtor Relationshiptoyou
not filing this case with District When Case number, if known
you, or by a business MM/DD /Y¥YY
partner, or by an
affiliate?
Cebtor Relationship to you
District When Case number, if known
MM ‘DD? YYYY
11. Do you rent your LI No. Go to line 12.
residence? 4 Yes. Has your landlord obtained an eviction Judgment against you?

Official Form 101

44 No. Go to Jine 12.

UJ Yes. Fil out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as

part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy

page 3
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 4 of 74

Debtor 1 Kathaleen Marie Walter Allen Case number (irsnown)

 

First Name: Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor No. Go to Part 4.
of any full- or part-time
business? C Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. P ° p Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A})
Q Single Asset Real Estate (as defined in 11 U.S.C, § 101(51B))
QJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

Cl) Commodity Broker (as defined in 11 U.S.C. § 101(6))

LC) None of the above

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
Chapter 11 of the can set appropriate deadiines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are youa small business 2"Y of these documents do not exist, follow the procedure in 11 U.S.C, § 1116(1)B).
debtor?

bio a No. | am not filing under Chapter 11.
For a definition of smalf
business debtor, see QI No. iam filing under Chapter 11, but {am NOT a small business debtor according to the definition in
11 U.S.C. § 104(51D). the Bankruptcy Cade.

C] Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

a Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do youownorhave any No
property that poses or is

 

alleged to pose athreat 1 Yes. Whatis the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you awn

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 5 of 74

Debtor 4 Kathaleen Marie Walter Allen

First Name Middle Name

Last Name

Case number (i known}

Ea Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

Md | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LI) J received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Qi certify that | asked for credit counseling
services from an approved agency, but was
unabie to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, aiong with a copy of the payment plan you
developed, if any. If you do not do $0, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about
credit counseling because of:

C] incapacity. [ have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L} Disability. |My physical disability causes me
to be unable to participate in a
briefing In person, by phone, or
through the internet, even after |
reasonably tried to do so.

CL) Active duty. | arm currently on active military
duty in a military combat zone.

If you believe you are not required te receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

QD i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

QJ) t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not recsiving a
briefing before you filed for bankruptcy,

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file 4 certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you da nat do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) tam not required to receive a briefing about
credit counseling because of:

| Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
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Debtor 1 Kathaleen Marie Walter Allen Case number (if keawn)

First Name Middle Name Last Name

EF answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”
L) No. Go to line 16b.
Z Yes. Go to line 17.

 

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

() No. Go to line 16c.
C) Yes. Go to line 17.

16c. State the type of debts you owe that are net consumer debts or business debts.

 

 

17. Are you filing under

Chapter 77? Q) No. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after @ Yes. 1am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and MW] No

administrative expenses

are paid that funds will be LI Yes

available for distribution
to unsecured creditors?

 

 

18, How many creditors do i 1-49 CI) 1,000-5,000 i] 25,001-50,000
you estimate that you LC) s0-99 LJ 5.001-10,000 QJ 50,001-1090,000
owe? ©) 100-199 Q 10,001-25,000 Q) More than 100,000
CJ 200-999
139. How much do you $0-$50,000 CI $1,000,001-$10 million ©) $500,000,001-$1 billion
estimate your assets to CJ $50,001-$100,000 Q) $10,000,001-$50 million CJ $1,000,000,001-$10 billion
be worth? L) $100,001-$500,000 L) $50,000,001-$100 milion CJ $10,000,000,001-$50 billion
L} $500,001-$1 million QJ $100,000,001-$500 million L} Mare than $50 billion
20, How much do you  $0-$50,000 LI $1,000,001-$10 million LJ $500,000,001-$4 bilfion
estimate your liabilities LJ $50,001-$100,000 QO) $10,000,001-$50 million Q} $1,000,000,001-$10 billion
to be? Q) $100,001-$500,000 C) $50,000,001-§190 milion CJ $10,000,000,001-$50 billion
L) $500,001-$4 million C) $100,000,001-$500 million CL] More than $50 billion

Sign Below
i have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attomey to help me fill out
this document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or beth.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x(V ) x

 

 

Signature of Debtor 1 Signature of Debtor 2
Executed on 02/10/2020 Executed on

MM / DD /¥YYY MMs DD /YYYY

    

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 7 of 74

Debtor 4 Kathaleen Marie Walter Ailen Case number dinown

Firsi Name Middle Nama Last Name

 

 

 

 

 

 

 

 

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you aré required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

CI No

MW Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

) No
Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

i No

Q] Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 1 19)

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x Part x

 

 

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 02/10/2020 Date
MM/DD /YYYY MM/ OD /YyvvyY
Contact phone (407) 488-6230 Contact phone
Cel) phone (407) 488-6230 Cell phone
Email address Kathaleen22@gmail.com Email address

 

So

 

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 8
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Fill in this information to identify your case:

Debtor 1 Kathaleen Marie Walter Allen

First Name: Middia Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

 

Case number LU Check if this is an
(If known} amended filing

Official! Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Ey Secnarize Your Assets

 

 

 

 

 

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B ..eccccccccccsssseecccessesecesesessteceseeceneeeneearesneseniatenscceaenesenenacerceetann cs ceseenas $ _ 9.00
1b. Copy line 62, Total personal property, from Schedule A/B....-.cessssicssetecseesennnceessntsttttsen eer nce eee eee ee $ 6,889.91
ic, Copy line 63, Total of all property on Schedule A/B oocccccccccesseeceeeeeeeeeesecnnnne es ceceenesneineesseeeteaemeaner sneer ce tereetinaarceerersness § 6,889.91
ead summarize Your Liabilities
Your liabilities

: Amount you owe
2. Schedule D: Creditors Who Have Ciaims Secured by Property (Official Form 106D)
2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 7 of Schedule D $

10,348.22

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F sic tesestceeteeee

$ 0.00

3b. Copy the total claims from Part 2 {nonpriority unsecured claims} from line 6j of Schedule E/F

me eeen Eten et en eee anaes teen eae tere + $ 43,128.25

 

 

 

 

 

Your total liabilities g___ 93,476.47
ee sense Your Income and Expenses
4 Schedule I: Your Income (Official Form 1061)
. § 2,660.00
Copy your combined monthly income from line 12 OF Schedule bocccccccccccccsecesceececssecce cones cescenteaeesseneeseenerteneeesienaeeaeceeneneaes oo
5. Schedule J: Your Expenses (Official Farm 106J}
Copy your monthly expenses from line BIC Of SCHEDUE To... cccceccccceesseeceeece eee eneee cee entre taser eaneaeceeanneeeenneeneerneenaenttaaee gence stat $ 3,130.00

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 9 of 74

Debtor 1 Kathaleen Marie Walter Allen

Case number (if known),
First Name Middia Name Last Name

i Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

(I No. You have nothing to repart on this part of the form. Check this box and submit this form to the court with your other schedules.

wi Yes

 

 

7. What kind of debt do you have?

wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(J Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8 From the Sfatement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 1224-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 3,956.91

 

 

 

 

 

 

 

 

9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) 5  _—C«i 00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) si.
Qc. Claims for death or personal injury while you were intoxicated. {Copy line 6c.) 3 0.00
9d, Student loans, (Copy line 6f.) § 8,627.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.} TTT
Qf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +5 0.00
9g. Total. Add lines 9a through 9f. $ 8,627.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2
Case 6:20-bk-00804-KJ Doc1_ Filed 02/10/20

Fill in this information to identify your case and this filing:

Walter Allen

Last Name

Marie

Middle Name

Kathaleen

First Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middie Name
United States Bankruptcy Court for the: Middle District of Florida

Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

Page 10 of 74

LJ Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1, Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

No. Go to Part 2.
QC) Yes. Where is the property?
What is the property? Check ail that apply.

Q) Single-family home
1.7.

 

- - — L) Duplex or multi-unit building
Street address, if available, or other description ;
LJ Condominium or cooperative
LI Manufactured or mobile home
CJ cand

LJ investment property

CL) Timeshare

L) other

 

 

City State ZIP Cade

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Whe Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

Q) Debtor 1 only

U) pebtor 2 only

Q] Debtor 1 and Debtor 2 only

(1 At least one of the debtors and another

 

County

 

L) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that apply.

Single-family home
1.2.

 

Duplex or multi-unit buildin
Street address, if available, or other description P t ding
Candominium or cooperative
Manufactured or mobile home
Land

Investment property

 

 

Timeshare
Other

City State ZiP Code

COOCOOdOO

 

Who has an interest in the property? Check one.

CI Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(3 At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedute D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C3 check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 11 of 74

Debtor 1 Kathaleen Marie

Walter Allen

 

First Name Midd'e Name

1.3.

Last Name

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...........::ccccceesseessesseesceeeseeeveegeeseassaeegecgeaeeaeesssensneaeessansnenss >

Describe Your Vehicles

What is the property? Check all that apply.
Q Single-family home

L) Duplex or multi-unit building

CY Condominium or cooperative

() Manufactured or mobile home

L) Land

C) investment property

L) Timeshare

LJ other

 

Who has an interest in the property? Check one.
C) Debtor 1 only

CI Debtor 2 only

Q) Debtor 1 and Debtor 2 only

Q At least one of the debtors and another

Case number (irtknows)

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D-
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simpie, tenancy by
the entireties, or a life estate), if known.

 

L) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report iton Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycies

L) No
Wd Yes
3.1, Make: Buick
Model: LeSabre
Year. 2002
101,000

Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make: Ford
Model: Crown Victc
Year: 20000
87,000

Approximate mileage:

Other information:

 

Daughters vehicle

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
4 Debtor 1 only

LI) Debtor 2 only

LJ Debtor 1 and Debtor 2 only

(CY At teast one of the debtors and another

(1) Check if this is community property (see
instructions}

Who has an interest in the property? Check one.
WJ Debtor 1 only

LJ Debtor 2 only

(4 Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 1,000.00

 

Do not deduct secured claims or exemptions. Put
ihe amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Praparty,

Current value of the
entire property?

Current value of the
portion you own?

$ 800.00

 

page 2
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 12 of 74

Debtor 41 Kathaleen Marie

Walter Allen

 

First Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other Information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

Q) Debtor 1 only

Q) Debtor 2 only

QC) Debtor 4 and Debtor 2 only

() At least one of the debtors and another

Q] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

LJ Debtor 1 only

LJ Debtor 2 only

LI) Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C) Check if this is community property (see
instructions)

Case number (if known),

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Bo not deduct secured claims or exemptions. Put
the amount of any secured claims an Schedule D:
Craditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

4 No

C) Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2. Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that mummber Mere ooo... esccccsssescecesseessescesceseesesseesasanssssseasescesseesassnscensessessessussivanatseccasesurseneeesers

Official Form 106A/B

Who has an interest in the property? Check one.
L) Debtor 1 only

C) Debtor 2 only

CD Debtor 1 and Debtor 2 only

LI At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

QI Debtor 1 only

OC) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

QC) Check if this is community property (see
instructions}

Schedule AJB: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Praperty.

Current value ofthe Current value of the
entire property? portion you own?

Oo not deduct secured claims or exemptions. Put
the amount of any secured claims on Scheduie D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
Portion you own?

entire property?

   

1,800.00

 

page 3
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Debtor 1 Kathaleen Marie Walter Alien

First Name Middle Name Last Name

| part 3: (CE Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

Case number (ifknown}

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CL) No
Yes. Describe......... Futons (2), twin bunk beds, twin bed, queen bed, plates, bowls, utensils, cube | 600.00
-organizer.{2},.small.desk.(2), dog-crate, 3 piece dining set,.TV-stand, desk........-
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
O] No
U7 ; : . . .
Yes. Describe, ....... 32" TV (2), 46" TV, iPhone SE (2), iPhone 6S, iPhone7, Xbox 360, HP laptop | $ 250.00
3. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
MJ No
UC) Yes, Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
4] No oo
LJ Yes. Describe.......... | $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
WJ No
C) Yes. Deseribe.......... $

 

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CL) No

 

Yes. Describe.......... Everyday clothes, shoes

 

§ 100.00

 

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

LI No

 

MW] Yes. Describe..........

 

Costume jewelry, everyday jewelry, 1 watch
13.Non-farm animals
Examples: Dogs, cats, birds, horses

QO) No

 

 

NM] Yes. Describe..........

 

Dogs (2) Lhasa apso and puggle

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

LA No

 

QC) Yes. Give specific
information. .....0.....

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3, Write that mumber Here: o.oo... ee eececccesccecceecseesseesessssensecusesseesessessussassessensessassnesasensesssesessussnesnutnsnsassarsssneseersetsansenseneerede

 

Official Form 106A/B Schedule A/B: Property

$ 75.00
5 100.00
$

 

8 1,125.00

 

 

page 4

 
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Debtor1 Kathaleen Marie Walter Allen Case number tirkonn)
First Name: Middle Name Last Name
| ane «: Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
LY No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, jist each.

 

 

CI) No

WD Yes ccc Institution name:
17.1. Checking account: PNC 23.48
17.2. Checking account: PNC 0.00
17.3. Savings account: PNC 0.00

 

17.4. Savings account:

 

17.5. Certificates of deposit:

 

17.6. Other financial account:

 

17.7. Other financial account:

 

17.8. Other financial account:

 

17.9. Other financial account:

 

- Ff 71 78 - - - f

18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

WJ No

QO YV@S wee Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

W No Name of entity: % af ownership:
LJ Yes. Give specific 0% %
information about 0,
CHEM. asesessssssssessessee 0% %
0,
0% »

 

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 Kathaleen Marie Walter Allen Case number tirinown)

First Name Middle Nama Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Wi No

L) Yes. Give specific —_ [ssuer name:
information about
HREM... eee: $

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k}, 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LC) No
Wl Yes. List each
account separately. Type of account: Institution name:
4041(k) or similar plan: Depi of Veterans Affairs $ 91.33
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22, Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

\d No

CY eS occ ecsseeee Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephene: $
Water: $
Rented furniture: $
Other: $

23, Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
WI No
DY Yeswccue Issuer name and description:
$
$

 

Official Form 106A/B Schedule A/B: Property page 6
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Debtor 4 Kathaleen Marie Walter Allen Case number known)

First Name Middle Name Last Natne

 

 

24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)1), 529A(b), and 529(b}\(1).

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

WZ No

QC) Yes. Give specific
information about them.... $

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
No

C) Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, jiquor licenses, professional licenses

J No

L} Yes. Give specific
information about them.... $

 

 

 

 

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

 

Q) No
Z Yes. Give specific information 3,826.00
7 4 F. : , *
about them, including whether 2019-filed ederal sees
you already filed the retums State:

and the tax Ye@Ms. woes
¥ Local: $

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Wi No

 

 

 

 

 

CI) Yes. Give specific information..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

30, Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid ioans you made to someone else
W] No
CI Yes. Give specific information...............
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
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Debtor 1 Kathaleen Marie Walter Allen

First Name Middle Name Lasi Name

Case number (known)

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

C) No

WZ Yes. Name the insurance company

 

 

, ~ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...
BCBS Federal Self $ 0.00
Flexible Spending Account (HSA) Self $ 0.60
Assurant Bedrock Apts $ 100,000.00

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

J No

CL) Yes. Give specific information..............

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

W No

LJ Yes. Describe each claim. .........000.-

 

 

 

 

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

WJ No

(J Yes. Describe each claim. «cesses

 

 

 

 

35. Any financial assets you did not already list

i No

C) Yes. Give specific information............

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mummber Mere oo... esc eccceesscssuseessesssssesscnueeseesecsessensanansnanecsaeeseatsessuesanisesrasesssnsesieesssipsantssensescsscessesses SP $ 3,974.81

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do0 you own or have any legal or equitable interest in any business-related property?
WZ No. Go to Part 6.
C) Yes. Go te line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions,

34. Accounts receivable or commissions you already earned

LC) No
Cl Yes. Describe....... .
i

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

QO) No
Q) Yes. Describe....... s

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 18 of 74

Debtor 1 Kathaleen Marie Walter Allen Case number (known)

First Name Middle Name Last Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

O) No
Q) Yes. Describe......,

 

 

41. Inventory
L] No
LI] Yes. Describe....... 5

 

 

 

 

42. Interests in partnerships or joint ventures

LI No

QI Yes. Describe...... Name of entity: % of ownership:

% 3
Yo
% $

 

on

 

 

43. Customer lists, mailing lists, or other compilations
LJ No
LI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(44A)}}?
QL No
() Yes. Deseribe........

 

 

 

 

44. Any business-related property you did not already list
No
CE Yes. Give specific

 

information .........

 

 

 

 

fF ff A -¢ 6

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that murmiber Bere ooo... occ ee ce ccc c ee cec cee ccenecseneceneseuecusnuseavanseusassnsecsuassavssesessessesssesacaveseerensnessesaseensensenseceee cee SP

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wd No. Go to Part 7.
C) Yes. Go to line 47,

Current value of the
portion you own?

Do nat deduct secured claims

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
C} No
OD Yes oo
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 19 of 74

Debtor 1 Kathaleen Marie Walter Allen

First Name Middle Name Last Name

Case number (ifkown)

 

48. Crops——either growing or harvested

LY No

LI) Yes. Give specific
information. ........... $

 

 

49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C] Ne
DD Yes vss
$
50. Farm and fishing supplies, chemicals, and feed
LJ No
i Oh 7:
$
51.Any farm- and commercial fishing-related property you did not already list
OQ) Ne
C) Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6 Write that mumber Here ooo... cece ecccecceeceeecenssnsscssssssnessssscessesssesoeseessaresversvesrsuvereseutesvasavssassnstsstatverserseeeseesvensessatessee SP
Describe All Property You Gwn or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club rmembership
a) No
Ci Yes. Give specific
information. ............
54. Add the dollar value of all of your entries from Part 7. Write that number here oo... cecccccccescessssecsseesssccssesscesessessaes $
List the Totals of Each Part of this Form
55. Part 1: Total real estate, lime 2 ....e.s.ssssssssssssessseescseeseecrssuesennsenseeseceeececsecnvassinsteantsssensstssuusseietsensesrenreteenmmnitissssccsesseseee BD $ 0.00
56.Part 2: Total vehicles, line 5 $ 1,800.00
57. Part 3: Total personal and household items, line 15 $ 1,125.00
58. Part 4: Total financial assets, line 36 $ 3,974.81
59, Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0,00
61.Part 7: Total other property not listed, line 54 +3 0.00
62. Total personal property. Add lines 56 through 61. ........-......0. § 6,899.81 Copy personal property total > + ¢ 6,899.81
63. Total of all property on Schedule AIB. Add line 55 + line G2ecccccocccccccsccccssssssesesssssssssessseseetetcsesseseeeeceesteteeeeececeeeeseec $ 6,899.81

 

 

 

Official Form 106A4/B Schedule A/B: Property page 10
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Fillin this information to identify your case:

Debtor 4 Kathaleen Marie Walter Allen

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number Ld Check if this is an
(If known) amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information,

Using the property you listed on Schedule A/8: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space Is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

| Part 4: | Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

wi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
Q You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief .
description, Buick LeSabre $ 1,000.00 Os Fia. Stat. Ann. § 222.25(1)
Line from WY 100% of fair market value, up to
Schedule A/B: 3-1 any applicable statutory limit
Brief . .
description: Ford Crown Victoria 3 800.00 is Fla. Stat. Ann. § 222.25.
Line from W4 100% of fair market value, up to
Schedule A/B: 3.2 _ any applicable statutory limit
Brief
description: Household goods 3 600.00 Os Fla. Stat. Ann. § 222.25.
Line from A 100% of fair market value, up to
Schedule A/B: G any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

No

Q] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

LJ No
L] Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
Debtar 1

Kathaleen

First Name

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Marie

Middle Name

Ea Additional Page

Brief description of the property and line
on Schedule A/8 that lists this property

Brief
description:
Line from

Sehedule A/B:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule A/B:

Bref
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line trom

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Walter Allen

Last Name.

Current value of the
Portion you own

Copy the value from

Case number (if known},

Amount of the exemption you claim

Check only one box for each exemption

 

Wd 100% of fair market value, up to
any applicable statutory limit

4 100% of fair market value, up to
any applicable statutory timit

 

Wi 100% of fair market value, up to
any applicable statutory limit

 

(A 100% of fair market value, up to
any applicable statutory limit

 

wf 100% of fair market value, up to
any applicabie statutory limit

 

i 100% of fair market value, up to

 

§4 100% of fair market value, up to

 

P| 100% of fair market value, up to
any applicable statutory limit

 

1 100% of fair market value, up to

 

LI 100% of fair market value, up to

 

 

L) 100% of fair market value, up to

Schedule A/B
Electronics 5 250.00 Os
fo
Clothingitems ss $s ss i100.00 ss Fg
11
Jewelry 5 75.00 O¢
12
Non-farm animals $ 100.00 5
13
Cash $ 34.00 O¢
16
Deposits of money $ 23.48 O¢
A? any applicable statutory limit
Retirement account $ 91.33 Os
21 . a
—_ any applicable statutory limit
Tax refund-owed $ 3,826.00 Os
28
$ Os
—_—— any applicable statutory limit
$ Lig
— any applicable statutory limit
$ Ls
any applicable statutory limit
$ Os

C3 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

Fla. Stat. Ann. § 222.25.

 

F

a. Stat. Ann. § 222.25.

 

Fi

a

. Stat. Ann. § 222.25.

 

Fla. Stat. Ann. § 222.25.

 

F

D

. Stat. Ann. § 222.25.

 

Fla, Stat. Ann. § 222.25.

 

Fla. Stat. Ann. § 222.25,

 

Fla. Stat. Ann. § 222.25(3)

 

 

 

 

 

page 2 of 2.
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 22 of 74

Fillin this information to identify your case:

Walter Allen

Last Name

Marie

Middle Name

Kathaleen

First Nate

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

 

U2 Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. if two married people are filing together, both are equatly responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form, On the top of any
additional pages, write your name and case number (if known).

 

12/15

1. Do any creditors have claims secured by your property?
(1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

Ca List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

Creditors Name

1349 W Peachtree St. NW

Column A Column B Column G
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do nat deduct the that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim If any
[2.1] Luther Sales Describe the property that secures the claim: 3 1,848.97 $ 175.00 $
Creditor's Name
129 Oser Ave Laptop, Nintendo Wii
Number Street
Suite A As of the date you file, the claim is: Check all that apply.
CI contingent
Hauppauge NY 11788 = Wf unliquidated
City State ZIP Code OC) Disputed
Who owes the debt? Check one. Nature of lien. Check all that appty.
Mf Debtor 4 only wf an agreement you made (such as mortgage or secured
Q) pebtor 2 only car loan)
Q) debtor 4 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
Q) Atleast one of the debtors and another 1 Judgment tien from a lawsuit
Q) other {including a right to offset)
C1 Check if this claim retates to a
community debt
Date debt was incurred 01/10/0201 Last 4 digits of account number 1 3 6 ft
[22 Purchasing Power Describe the property that secures the claim: $ 3,166.48 5 350.00 5

 

 

 

iPhone6 (2)

 

 

 

 

Number Street

Suite 1100

Atlanta GA 30309
City State ZIP Code

Who owes the debt? Check one.

Gf Debtor 1 only

OC) Debter 2 only

Q) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

(2 Check if this claim relates to a
community debt

Date debt was incurred 06/15/0201

 

Michael Kors handbag, coach handbag
As of the date you file, the claim is: Check all that apply.

OQ) contingent
rf Unliquidated
QO Disputed

Nature of lien. Gheck all that apply.

rf An agreement you made (such as mortgage or secured
car loan}

QO Statutory lien (such as tax lien, mechanic's lien)

Q Judgment lien from a lawsuit

CY Other (including a right to offset)

Last 4 digits of accountnumber 5 9 2 8

 

 

Add the dollar vatue of your entries in Column A on this page. Write that number here:

Official Farm 106D

Schedule D: Creditors Who Have Claims Secured by Property

b___5.015.45

page tof 2

 
Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 23 of 74

Kathaleen

Debtor 1

Marie

Walter Allen

Case number (known),

 

First Name Middia Name

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

 

 

 

Additional Page coum ,; anne 1 ' CGoluma.C
nat : . _ . mount of claim alue-of collateral | ed
After listing any entries on this page, number them beginning with 2.3, followed Do noi deduet he that supports this ation r
by 2.4, and so forth. value of collateral, claim ifany
[2.3 Progressive Leasing LLC Describe the property that secures the claim: $ 3,984.77 5 250.00 ¢
A Creditors Name
256 West Data Dr Living room set, bunkbeds, dining set,
Number Steet queen box spring and mattress
As of the date you file, the claim is: Check all that apply.
Draper Oh 84020 Q) Contingent
City State ZIP Coda w Unliquidated
Q) Disputed
Who owes the debt? Cineck one. Nature of lien. Check all that apply.
W Debtor 1 only Wi an agreement you made (such as mortgage or secured
Q) Debtor 2 only car loan)
UO] Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
EL] Atleast one of the debtors and another C] Judgment lien from a lawsuit
LJ Other (including a right to offset)
QC) Check if this claim relates to a
community debt
Date debt was incurred 02/01/0201 Last 4 digits of account number Ft 4 9 _0
2.4 USA Discounters Describe the property that secures the claim: $ 1,348.00 5 125,00 5
Creditor's Name :
9361 Annapolis Rd. 'LG Plasma TV
Number Streat i
As of the date you file, the claim is: Check all that apply.
O Contingent
Lanham Md 20706 bd Unliquidated
City Slate ZIP Code D disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
U. Debtor 1 only Pf An agreement you made (such as mortgage or secured
£) Debtor 2 only car loan)
Q] Debtor 1 and Debtor 2 only QC) Statutory tien (such as tax lien, mechanic's lien}
CQ] Atleast one of the debtors and anather () Judgment lien from a lawsuit
O) Check if this claim relates to a C1 dither (including a right to offset
community debt
| Date debt was incurred 02/01/0201 Last 4 digits of account number 7 4 9 oO
[2.4] Describe the property that secures the claim: § 3 $
Creditar's Name
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
City State ZIP Code LY Unliquidated
Q] Disputed
Who owes the debt? Check one. Nature of lien. Check all that appty.
Q) Debter 1 only C1 An agreement you made (such as mortgage or secured
O) Debtor 2 only car loan)
QJ Debtor 4 and Debtor 2 only C1 Statutory tien (such as tax lien, mechanic's lien)
C Atleast one of the debtors and another LY Judgment tien from a lawsuit
C1 Other (including a right to offset)
O) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _
Add the dollar value of your entries in Column A on this page. Write that number here: Bs 5,332.77
If this is the iast page of your form, add the dollar value totals from all pages. 10,348.22
Write that number here: $s

 

page2 of 2_

 
Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 24 of 74

Fill in this information to identify your case:

Walter Allen

Last Name

Marie
Middle Name

Kathaleen

First Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

LJ Check if this is an

Case number amended filing

{If known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A4/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

 

12/15

 

| Part 4: | List Ail of Your PRIORITY Unsecured Claims

 

1, Do any creditors have priority unsecured claims against you?

dl No. Go to Part 2.
) Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For

' each claim listed, identify what type of claim it is. Ifa claim has both priority and nonpriority amounts, list that claim here and show beth priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.}

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.1

Last 4 digits ofaccountnumber_ = —‘iCS $ $
Priority Creditor's Name

When was the debt incurred?
Number Street

As of the date you file, the claim is: Check all that apply.
City State ZIP Code U Contingent

O Untiquidated
Who incurred the debt? Check one. Op

Disputed
C) Debtor 1 only
C) Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 anly 2 Domestic support obligations
At least one of the debtors and another (3 Taxes and certain other debts you owe the government
C) Check if this claim is for a community debt (3 Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
Ona Other. Specify
QO) Yes
2 | Last 4 digits of accountmumber § 5

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

QI Debtor 1 only

Q) Debtor 2 only

C) Debtor 4 and Debtor 2 only

C2] Atleast one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?
Ql No
8 cose ee

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO Contingent

Q) Unliquidated

QO Disputed

Type of PRIORITY unsecured ciaim:
C) Domestic support cbligations
QO) Taxes and certain other debts you awe the government

Q) Claims for death or personal injury while you were
intoxicated

C3 Other. Specify

 

page 1 of 2
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 25 of 74

Debtor 1 Kathaleen Marie Walter Allen

First Name Middie Name Last Name

Case number (known)

 

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

 

: 3. Do any creditors have nonpriority unsecured claims against you?

CI No. You have nothing fo report in this part. Submit this form to the court with your other schedules.

Yes

4, List all of your nonpriority unsecured claims in the alphabetical order of the craditor who holds each claim. If a creditor has more than one
: nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
] Adevnt Health Last 4 digits of accountnumber 5 0 2 5 425.00
Nonpriority Crediter's Name 09/05/2019 S$ CTEM
7727 Lake Underhill Rd When was the debt incurred?
Number Street
Orlando FL 32822
City State ZIP Cade As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. QQ] Unliquidated
Mi Debtor 1 only O Disputed
Q) Debtor 2 only
() Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(J Atleast one of the debtors and another O Stugent loans
OQ) Check if this claim is for a community debt a Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? CJ Debts to pension or profit-sharing plans, and other similar debts
4 no W other. Specity Medical debt
C] yes
Az | Advent Health Last 4 digits of account number 8 1 8 7 gs 125.08
Nonpriarty Creditors Name When was the debt incurred? 08/19/2019
7727 Lake Underhill Rd
Number Street
Orlando FL 39899 As of the date you file, the claim is: Check all that apply.
City Stata ZIP Code CO Contingent
Who incurred the debt? Check one. OQ) unliquidated
a Debtor 1 only QO Disputed
GI Debtor 2 only .
C1 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
Q) Atleast one of the debtors and another C) Student loans
Q Obligations arising out of a separation agreement or divorce
Q) Check if this ctaim is for a community debt that you did not report as priority claims
is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
A no WM other. Specify Medical debt
QO] Yes
4.3
| Advent health Last 4 digits of accountnumber 9 9 1 6 125.00
Nonpriority Creditor's Name $NA
: When was the debt incurred? 09/15/2019
7/27 Lake Underhill Rd
Number Street
Orlando FL 32822
City Sale FIP Code As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. u Contingent
OC) unliquidated

 

w Bebtor 1 only

Q) Debtor 2 only

Q) Debtor 4 and Debtor 2 only

Q) Atleast one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

Mi No
QO) ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

QO) disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

a Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

CE Debts to pension or profit-sharing plans, and other similar debts
WW other. Specify Medical debt

page 2 of 27.
Debtor 1

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 26 of 74

Kathaleen Marie

Walter Allen

 

First Name Middie Name Last Name

Case number (if known),

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

: After listing any ontries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

Total claim

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

VW Debtor 1 only

QO) Debtor 2 only

() Debtor 1 and Debtor 2 only

L) Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

W No

QO) ves

(1 Untiquidated
GO Disputed

Type of NONPRIORITY unsecured claim:

O) Student ioans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q) Dents to pension or profit-sharing plans, and other similar debts

7) Other. Specify. Medical debt

Schedule E/F: Creditors Who Have Unsecured Claims

 

4.4 Advent Health Last 4 digits of account number 71 1 1 O| § 125.00
Nonpriority Crecitor’s Name
7727 Lake Underhill Rd When was the debt incurred? 11/08/2019
Numb Street
Orlando se FL 32999 As of the date you file, the claim is: Check all that apply.
City State ZIP Gode QO Contingent
unliquidated
Who incurred the debt? Check one. O) disputed
(fi Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
QU) Debtor 1 and Debtar 2 only C] Student toans
Cd At least one of the debtors and another i. Obtigations arising out of a separation agreement of divorce that
(3 Check if this claim is for a community debt you did nat report as priority claims .
oO Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify_ Medical debt
WP no
QO) Yes
4.5
Amscot Last 4 digits of accountnumber 7 4 9 0 g__ 301.00.
Nonpriority Creditor's Name :
PO Box 25137 When was the debt incurred? 12/01/2015
Number Streat . .
Tam pa FL 33622 As of the date you file, the claim is: Check all that apply.
City State ZIP Gade Q) contingent
(2 unliquidated
Who incurred the debt? Check one. g Disputed
Ww Debtor 1 only
QI Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Student loans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
Q] Check if this claim is for a community debt you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? ) Other. Specify Payday loan
| No
Q] Yes
[4.6] 5 85.00
ARS Last 4 digits of accountnumber 7 4 9 QO —
Nenpriority Creditor's Name
' When was the debt incurred? 02/01/2018
1643 NW 136th Ave Suite 100 OT
Number Street . ay
Sunrise FL 33323 As of the date you file, the claim is: Check all that apply.
City Stata ZIP Coda 1 Contingent

pageS_ of 27.
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 27 of 74

Debtor 1 Kathaieen Marie

Walter Allen

 

First Name. Middle Name Last Name

Case number (if known}

eae: Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name

100 Constellation Way

 

 

Number Street
Baltimore MD 21202
City State ZIP Code

Who incurred the debt? Check one.

| Debtor 1 only
; Q Debtor 2 only
CQ) Debtor 1 and Debtor 2 only
C1 Atieast one of the debtors and another

CJ) Check if this claim is for a community debt

ls the claim subject to offset?

wd No
QO ves

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. ‘Total.-claim
47 i Last 4 digits of accountnumber 8 O 5 8
Bank of America g Se g__ 385.45
: Nonpriority Crediter's Name
i 100 N Tryon St When was the debt incurred? 06/10/2017
Number Street . . oe
Charlotte NC 28255 As of the date you file, the claim is: Check all that apply.
City State ZIP Code ( Contingent
Q Unliquidated
Who incurred the debt? Check one. C2 Disputed
YW Debtor 7 only
CY Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) student loans
Atleast one of the debtors and anather OQ Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims
4 Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? | Other. Specify Overdraft
: of No
: O Yes
4.8 |
Bank of America Last 4 digits of accountnumber 5 6 4 7 g___ 15.68
Nonpriority Creditors Name
100 N Tryon St When was the debt incurred? 04/12/2014
Number Street . -
Charlotte NC 28255 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent
; QC) Unliquidated
Who incurred the debt? Check one. C1 pisputed
Mw Debtor 7 only
OQ) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only QO] student loans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims
U pebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? MM otner. Specify Overdraft
bd No
C) Yes
[4.9] 5 1,596.98
BGE Last 4 digits of account number 2 0 0 0 ——_

When was the debt incurrea? 02/01/2018

As of the date you file, the claim is: Check all that apply,

Q Contingent
| Untiquidated
im Disputed

Type of NONPRIORITY unsecured claim:

(1 student loans

a Obligations arising out of a separation agreement ar divorce that
you did not report as priority claims

C1) Debts to pension or profit-sharing plans, and other similar debts
W other. Specify Utilities

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

page4 of 21.
Debtor 1

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 28 of 74

Kathaleen Marie

Walter Ailen

 

First Name Middle Name Last Name

Case number (f knows)

| Parts Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total.claim
+e ; Last 4 digits of accountnumber 7 4 9 0
Brighthouse Network 3 u — se St g 250.00
Nonpriority Creditor's Name
’ hi i 08/20/2016
3201 E Colonial Dr When was the debt incurred?
Number Steet As of the date you file, the claim is: Check all th
Orlando FL 32803 e date you file, the claim is: Check all that apply.
City State ZIP Code OY Contingent
; O) untiquidated
Who incurred the debt? Check one. O Disputed
Yi Debtor 1 anly
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
“| Debtor 1 and Debtor 2 only ) Student loans
Atleast one of the debtors and another (1 Obligations arising out of a separation agreement or divorce that
OC) check if this claim is for a community debt you did not repart as priority claims
OQ) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mf other. Specify_Utilities
D no
QO) ves
[4
Clearbalance Last 4 digits of accountnumber & 1 O 5 $ 226.97
Nonpnority Creditor's Name :
When was the debt i d? 08/05/2019
PO Box 927830 ° we
Number ___ Steel As of the date you file, the claim is: C
. sO . : .
San Diego CA 92192 @ date you tile, the claim is: Check all that apply.
City State ZIP Code () Contingent
; OQ unliquidated
Who incurred the debt? Check one. O disputed
: 4 Debtor 1 only
: Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
| 4 Debtor 1 and Debtor 2 only O) student loans
: At least one of the debtors and another O Obligations arising out of a separation agreement or divorce that
: O) Check if this claim is for a community debt you did not report as priority claims
L Q) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? M1 other. Specify Medical Debt
i id No
QO) Yes
[4e4] . 49 6 ¢_1,596.98
Comcast Last 4 digits of accountnumber 4 Y 6) oO
Nonpriority Creditors Name
When was the debt incurred? 12/10/2012
1 Comcast Center
Number Stes As of the date you file, the claim is: Check all that app!
Philadephia PA 19103 you ine, Bia claims: Check all that apply.
City Slate ZIP Code QO) Contingent

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

Uw Debtor 1 only

O debtor 2 only

C) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

) Check if this claim is for a community debt

Is the claim subject to offset?

Wi No

Q Yes

Ql Unliquidated
Q) pisputed

Type of NONPRIORITY unsecured claim:

( Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

O) pebts to pension or profit-sharing plans, and other similar debts

 otner. specify Utilities

 

   

Schedule E/F: Creditors Who Have Unsecured Claims

page of 21.
Debtor 1

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 29 of 74

Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Name

Case number (if known}

lease Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total:claim
aed : : Last 4 digits of accountnumber 3° 5 N_ 1 |
Commonwealth Financial Systems + + = gs 107.00
Nonpriority Creditor's Name :
245 Main Street When was the debt incurred? 11/26/2015
Dickson City PA 18519 As of the date you file, the claim is: Check all that apply.
City Slate ZIP Code O1 Contingent
O Unliquidated
Who incurred the debt? Check one. G Disputed
Yi Debtor 1 only
() Debtor 2 only Type of NONPRIORITY unsecured claim:
QI Debtor 1 and Debtor 2 only O Student loans
C1 At least one of the debtors and anather Q Obligations arising out of a separation agreement or divorce that
re a . you did not report as priority claims
if this claim is for a community debt
O Check if this claim | ty Q) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? i Other. Specify Medical Debt
wf No
QO) ves
4s ig 22N1 387,00
Commonwealth Financial Systems Last 4 digits of accountnumber ¢ £ N41 s__387.00
Nonpriority Creditor's Name :
245 Main Street When was the debt incurred? 02/10/2016
Street
Number mee As of the date you file, the claim is: Check all that apply.
Dickson City PA 18519
City State ZIP Gade QO contingent
) Unliquidated
Who incurred the debt? Check one. O disputed
Vi Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only C1) Student loans
C1 At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
Q] Check if this claim is for a community debt you did not report as priority claims
UL] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WJ other. Specify Medical Debt
Wf No
QO yes
4g ¢ 176.00
Commonwealth Financial Systems Last 4 digits of account number 5 4 N 1
Nonprisrity Creditor’s Name
245 Main Street When was the debt incurred? 03/21/2016
Number Street . co.
Dickson City PA 18519 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q) Contingent

 

Official Form 106E/F

Who incurred the debt? Check one.

.) Debtor 1 only

O) Debtar 2 only

Q) Debtor 1 and Bebtor 2 only

(C) Atleast one of the debtors and another

C) Cheek if this claim is for a community debt

Is the claim subject to offset?

a No
QO) ves

QO Uniiquidated
ty Disputed

Type of NONPRIORITY unsecured claim:

Q) student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

OQ) Debts to pension or profit-sharing plans, and other similar debts

| Other. Specify Medical Debt

   

Schedule E/F: Creditors Who Have Unsecured Claims

pageS_ of 217
Debtor 1

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 30 of 74

Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Name:

Case number (if krown)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4a : Last 4 digits of account number O 0 N14
Commonwealth Financial Systems 9 =e tS g 172.00
Nonpriarity Creditors Name
245 Main St When was the debt incurred? 06/13/2016
Number Street . oy
: Dickson City PA 18519 As of the date you file, the ciaim is: Check all that apply.
ay State ZIP Code OC) Contingent
QO) unliquidated
Who incurred the debt? Check one, O Disputed
[ Debtor 4 only
(I Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 anly CO Student loans
At least one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims
O) bebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mother. Specify Medical Debt
: wi Noa
QO) Yes
4a ,
: Fed Loan Servicing Last 4 digits of accountnumber 0 0 O 9 $_.1,516.00
Nonpriority Creditors Name
PO Box 60610 When was the debt incurred? 09/26/2018
Number Street . wo
Harrisburg PA 17106 As of the date you file, the claim is: Check ail that apply.
City State ZIP Code CY contingent
; Q) Unliquidated
Who incurred the debt? Check one. QO Disputed
Mi Debtor 1 only
LI Debtor 2 only Type of NONPRIORITY unsecured claim:
O) Debtor 1 and Debtor 2 only wi Student loans
O) Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
1 Check if this claim is for a community debt you did not report as priority claims
Q) Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? Q) other. Specify
wf No
OC) yes
4 $2,526.00
: Fed Loan Servicing Last 4 digits of account number O O 1 0
Nonpriority Creditor’s Name
PO Box 60610 When was the debt incurred? 03/21/2019
Number Street . ae
Harrisburg PA 17106 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent

 

Official Form 106E/F

C) ves

 

 

 

Who incurred the debt? Check one.

UM Debtor 7 only

QO) Debtor 2 only

CQ) Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and ancther

QO) Check if this claim is for a community debt

Is the claim subject to offset?

Wi no

Q Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

wf Student loans

QO) on igations arising out of a separation agreement or divorce that
you did not report as priority claims

CI Debts to Pension ar profit-sharing plans, and other similar debts

CJ other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

page? of 27
Debtor 4

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Kathaleen Marie

Walter Allen

 

First Name Middie Name Last Name

Case number (ifknown)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

4nd

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4digits of accountnumber 1 5 4 1.

 

Total claim

5 37.09

 

 

 

 

 

 

 

 

 

C) Yes

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

UM Debtar 7 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CI Atleast one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

Md No

C1 uniiquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

Ql Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CI Debts to Pension or profit-sharing plans, and other similar debts

VW other. specity Medical Debt

 

Schedule E/F: Creditors Who Have Unsecured Claims

Franklin Square Hospital +.
Nonpriority Creditors Name
: When was the debt incurred? 06/21/2015
9000 Franklin Square Dr —_———
Number Street
. As of the date you fite, the claim is: Check all th ly.
Baltimore MD 21237 ¥ im ts: Check all that apply
City State ZIP Code QO) contingent
QO) unliquidated
Who incurred the debt? Check one. uO Disputed
Vd Debtor 1 only
(J Debtor 2 only Type of NONPRIORITY unsecured claim:
Q) Debtor 1 and Debtor 2 only O student loans
LU} Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims
Q] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wi other. Specify Medical Debt
wh No
QO) ves
‘al igi 2456 |
Franklin Square Hospital Last 4 digits of accountnumber 4 4 39 6 §__ 91.73.
Nonpriority Creditor's Nama
: When was the debt incurred? 06/23/2015
9000 Franklin Square Dr ——
Number Street
‘ As of the date you file, the claim is: Ch t .
Baltimore MD 21237 ¥ im ts: Check all that apply
City State ZiP Cade C1 Contingent
O unliquidated
Who incurred the debt? Check one. oO Disputed
A Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O Student loans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims
QO) debts to Pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A other. specity Medical Debt
ad No
Cl yes
4 gal / 5 0 5 172.26
: Franklin Square Hospital Last 4 digits of accountnumber_ 5 QO 9 5
Nonpriority Crecitor's Name
: When was the debt incurrea? 96/24/2015
9000 Franklin Square Dr ————
mmber Steet As of the date you file, the claim is: Check all that app!
. ; jaim is: .
Baltimore MD 21237 ¥ 2 TANI ISE SNGEK aI AL APPIy
City State ZIP Code Q) contingent

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Debtor 4 Kathaleen Marie

Waiter Allen

 

First Name Middle Name Last Name

Case number (known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

Ag

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

Last 4 digits of accountnumber O 7 8 3°

 

 

 

 

 

 

 

 

Franklin Square Hospital 5 83.73.
Nonprionty Creditor’s Name :
. When was the debt incurred? 05/03/2017
9000 Franklin Square Dr ———
Number Street
. As of the date you file, the claim is: Check .
Baltimore MD 21237 @ date you file. im is eck all that apply.
City State ZIP Gode CY Contingent
O Unliquidated
Who incurred the debt? Check one. O disputed
[A Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only 2) Student loans
Atleast one of the deblors and another Q Obligations arising out of a separation agreement or divorce that
QO] Check if this claim is for a community debt you did not report as prionty claims
OC) Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? Ww other. Specity_Medical Debt
id No
QI ves
Hal
Franklin Square Hospital Last 4 digits of account number 8 6 9G Q $ 17.68.
i Nonpriority Creditors Name
. When was the debt incurred? 12/20/2014
9000 Franklin Square Dr OT
Number Street
: As of the date you file, the claim is; Check all that apply.
Baltimore MD 21237 ¥ apey
City Stale ZIP Code O) Contingent
() Untiquidated
Who incurred the debt? Check one. O) Disputed
Md Debtor 1 only
(2 Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 4 and Debtor 2 only O Student loans
C1 Atleast one of the debtors and anather Q Obligations arising out of a separation agreement or divorce that
Oi Check if this claim is for a community debt you did nat report as priority ctaims
Q) Debts ta pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A other. Specify Medical Debt
af No
Q) Yes
5 41.97

Franklin Square Hospital

 

 

Nonpriority Creditar's Name

9000 Franklin Square Dr

 

 

Number Street
Baltimore MD 21237
City State ZIP Code

Who incurred the debt? Check one.

Mi Debtor 1 only

(3 Debtor 2 only

Q) Debtor 1 and Debtor 2 only

LJ Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

No
QO) ves

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number 1 8 7 5—
When was the debt incurred? 10/28/2013

As of the date you file, the claim is: Check all that apply.

Q Contingent
OQ) unliquidated
QO) cisputed

Type of NONPRIORITY unsecured claim:

OC Student loans

oO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other simitar debts
i other. Specify_ Medical Debt

page? of 21
Debtor 1

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 33 of 74

Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Mame

Case number (# known)

 

rat: Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth,

 

4

 

 

 

 

 

 

Last 4 digits of account number oO 7 2 2

 

Totat claim

 

 

 

 

 

 

 

Franklin Square Hospital $ 65.26
Nonpriority Creditors Name
: When was the debt incurred? 99/29/2016
9000 Franklin Square Dr a
Number Street
. date ile, the claim is: .
Baltimore MD 21237 As of the date you file, the claim is: Check all that apply.
City State ZIP Code 1 contingent
( unliquidated
Who incurred the debt? Check one. disputed
wf Debtor 1 only
CI) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) Student loans
Atleast one of the debtors and ancther oO Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report a8 priority claims
: C1 Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? Other. Specify_ Medical Debt
i No
i Yes
al ‘i 6843
Franklin Square Hospital Last 4 digits of accountnumber 6 8 4 3 ¢ 418.71
Nonpriority Creditor's Name
. When was the debt incurred? 01/23/2018
9000 Franklin Square Dr —
Number _‘Steat As of the date you filo, the claim is: Check all that appl
. , im is: .
Baltimore MD 21237 ¥ eck all that apply
ay Siate ZIP Code QC) Contingent
/ () Untiquidated
Who incurred the debt? Check one. O} Disputed
| Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
" Debtor 1 and Debtor 2 only O student loans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report 48 priority claims
C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? i other. Specify Medical Debt
ad No
CI yes
[4ga| 6 302 3__ 725.58.
Franklin Square Hospital Last 4 digits of accountnumber 6 3 2 5
Nonpriority Creditor's Name
‘ When was the debt incurred? 12/12/2014
9000 Franklin Square Dr ae
Number —__Street As of the date you file, the claim is: Check all that app!
. ite, claim is: .
Baltimore MD 21237 ¥ © a Meneek al that apply
City State ZIP Cade QJ Contingent

 

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

U Debtor 1 only

Q) Debtor 2 only

C2) Debtor 1 and Debtor 2 only

C] At least one of the debtors and another

OQ) Check if this claim is for a community debt

ls the claim subject to offset?

bd No

OD) ves

QO unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

QI Student toans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QC) Debts to pension or profit-sharing plans, and other similar debts
A other. specify Medical Debt

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

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Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 34 of 74

Debtor 1 Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Name

Case number (if known)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

4g

 

 

 

Franklin Square Hospital

 

Norpriority Creditor’s Name

9000 Franklin Square Dr

 

 

Number Street
Baltimore MD 21237
City State ZIP Code

Who incurred the debt? Check one.

YW Debtor 1 only

CI Debtor 2 only

C] Debtor 4 and Debtor 2 only

(2) At feast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

i no
L) Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

Last 4 digits of account number 3 5 5S 2 $ 379.71

When was the debt incurred? 10/22/2017

As of the date you file, the claim is: Check all that apply,

Q) Contingent
Q) unliquidated
O) disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Obligations arising cut of a separation agreement or divorce that
you did not report as priosity claims

Q) Debts to pension or profit-sharing plans, and other similar debts
Other, Specify Medical Debt

 

Friendly Finance

 

Nonpricrity Creditors Name

6430 security Blvd

 

 

Number Street
Baltimore MD 21207
City State ZIP Cade

Who incurred the debt? Check one.

w Debtor 1 only

C) Debtor 2 only

C1 Debtor 4 and Debtor 2 only

C1 atleast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

rf No
QC) ves

Last 4 digits of account number 4 5 8 0

3 17,758.44

When was the debt incurred? 03/15/2013

As of the date you file, the claim is: Check all that apply.

OQ Contingent
QO) unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts
Wi other. Specify Reposession

 

Geico

 

Nonpriority Greditor's Name

1 Geico Plaza

 

 

Number Street
Bethesda MD 20810
City State ZIP Code

Who incurred the debt? Check one.

Ud Debtor 1 only

Q) Debtor 2 only

CQ) Debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

QO] Check if this claim is for a community debt

Is the claim subject to offset?

bf No
QO] ves

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

3 196.63.
Last 4 digits of accountnumber 7 8 8 4 oo

When was the debt incurred? 04/20/2018

As of the date you file, the claim is: Check all that apply.

QO Contingent
L3 Untiquidated
Q) disputed

Type of NONPRIORITY unsecured claim:

QO) student loans

QO Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims

C1 pebts to pension or profit-sharing plans, and other similar debts

M1 other. Specity_ Car insurance

   

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Debtor 1 Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Name

Case number (known

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

+a
Green Arrow Loans

 

 

 

| After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

Last 4 digits of account number 9 6 Oo 6

 

 

 

 

 

 

 

 

 

Last 4 digits of account number / 9 8 3

g 727.86
Nonpricrity Creditor’s Name
When was the debt incurred? 01/10/2020
PO Box inc wees
Number Street
. As of the dat ile, laim is: ,
Finley CA 95434 ate you file, the claim is: Check all that apply
City State ZIP Code O Contingent
: QO) unliquidated
Who incurred the debt? Check one. Q disputed
i (Debtor 1 only
Q) Debtor 2 onty Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only 2) Student loans
Atleast one of the debtors and another oO Obligations arising out of a separation agreement or divorce that
O Check if this claim is for a community debt you did nat report as priority claims
3 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WM other. Specify_ Payday loan
ad No
O) Yes
a ! 3702 .
Good Samaritan Hospital Last 4 digits of account number 3. 7 0 2. 5 50.39
: Nonpriority Creditar's Name
When was the debt incurred? 99/02/2013
5601 Loch Raven Blvd TO
Number Street
. As of the date you file, the claim is: Check all .
Baitimore MD 21239 you Tile, the Sek all that apply
City State ZIP Code (3 Contingent
OD unliquidated
Who incurred the debt? Check one. O disputed
wi Bebtar 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 oniy © Student ioans
Atleast one of the debtors and another (4 Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims
O) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify_Medical Debt
wi No
O) Yes
4a 5 48.29

Good Samaritan Hospital

 

Nonpriority Greditor's Name

5601 Loch Raven Blvd

 

 

Number Street
Baltimore MD 21239
City State ZIP Code

Who incurred the debt? Check one.

Vd Debter 1 only

QO) Debtor 2 only

OQ) Debtor 1 and Debtor 2 only

C2 atieast one of the debtors and another

(] Check if this claim is for a community debt

Is the claim subject to offset?

6A No
QO) Yes

   

Official Form 406E/F

Schedule E/F: Creditors Who Have Unsecured Claims

When was the debt incurred? 09/23/2014

As of the date you file, the claim is: Check all that apply.

Q Contingent
QQ Unliquidated
) Disputed

Type of NONPRIORITY unsecured claim:

CQ) Student toans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts
MW other. Specify. Medical Debt

page 12 of 21.
Debtor 1

Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 36 of 74

Kathaleen Marie

Waiter Allen

 

First Mame Middle Name Last Name

Case number (if known},

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

. After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

Total claim
4g : : Last 4 digits of account number 8 5 4 4
Good Samaritan Hospital 9 coun 2 Yt Ft ¢ 141.31,
Nonpriority Creditors Name
5601 Loch Raven Blvd When was the debt incurred? 05/13/2013
Number Street . soe
Baltimore MD 21239 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Contingent
QQ) unliquidated
Who incurred the debt? Check one. Q bisputed
I Debtor 4 only
QC) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O Student loans
Atleast one of the debtors and another (1 Obligations arising aut of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims
QC) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W other. Specify Medical Debt
wf No
: QO Yes
ea] _ 08 8 |
Good Samaritan Hospital Last 4 digits of accountnumber O 8 8 5 s__ 253.02
Nonpriority Greditor’s Name :
5601 Loch Raven Blvd When was the debt incurred? 07/20/2013
Number Streat - oo
Baltimore MD 241239 As of the date you file, the claim is: Check all that apply.
City State ZIP Code (2 Contingent
CQ) Untiquidated
Who incurred the debt? Check one. O disputed
i Debtor 1 only
LL] Debtor 2 ony Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debior 2 only O Student loans
Atleast one of the debtors and another Q1 Obligations arising out of a separation agreement or divorce that
QC) Check if this claim is for a community debt you did not repart as priority claims
QO) Debts to pension ar profit-sharing plans, and other similar debts
Is the claim subject to offset? & Other. Specify. Medical Debt
| No
QI ves
4al 7 3 5 191.18
Good Samaritan Hospital Last 4 digits of account number 9 3 9 6
Nonprionty Gregitor's Name
5601 Loch Raven Blvd When was the debt incurred? 98/29/2013
Number Street
Baltimore MD 21239 As of the date you file, the claim is: Check all that apply.
City State ZIP Code CY contingent

Official Form 106E/F

Who incurred the debt? Check one.

VU Debtor 1 only

QJ) Debtor 2 only

() Debtor 1 and Debtor 2 only

C1 At teast one of the debtors and another

(J) Check if this claim is for a community debt

Is the claim subject to offset?

Wd No

Q) ves

 

OO Untquidated
i Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

O Obligations arising cut of a separation agreement or divorce that
you did not repart as priority claims

CQ) Debts to pension or profit-sharing plans, and other similar debts
@ other. specity_ Medical Debt

 

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

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Kathaleen Marie

Walter Allen

 

Firsi Name. Middle Name Last Name

Case number ( keown),

 

Your NONPRIORITY Unsecured Ciaims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

id

 

 

 

 

Last 4 digits of account number Tt a 7 3

 

Total claim

 

 

 

 

 

 

 

 

 

Good Samaritan Hospital g_ 368.37.
, Nonpriority Cregitor’s Name :
When was the debt incurred? 05/23/2014
5601 Loch Raven Blvd ——_—_
: Number Street
: . As of the date you file, the claim is: Check all that ly.
Baltimore MD 21239 " enmnienaiad
: City State ZIP Code C) Contingent
O) unliquidated
Who incurred the debt? Check one. O bisputed
i i Debtor 1 only
: C1) pebtor 2 only Type of NONPRIGRITY unsecured claim:
3 Debtor 1 and Debtor 2 only © Student loans
Aileast one of the debtors and another Oo Obligations arising out of a separation agreement or divorce that
C1 Check if this claim is for a community debt you did not report as priority claims .
Ql Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WA other, Specify_ Medical Debt
wh Na
UL] ves
val i 3.7 2 6
Good Samaritan Hospital Last 4 digits of accountnumber 3) 7 2 6 $ 43.87
Nonpriority Creditor's Name
When was the debt incurred? 09/20/2016
5601 Loch Raven Blvd oo
Number Street
: As of the date you file, the claim is: Check all that apply.
Baltimore MD 21239 ¥ ecaar apply
City State ZIP Code C) Contingent
OO Untiquidated
Who incurred the debt? Check one. QO disputea
F Debtor 7 only
QO) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and another Oo Obligations arising out of a separation agreement or divorce that
Ci Check if this claim is for a community debt you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WM other. Specify Medical Debt
f no
Ll Yes
[4 a 1244 3 2,605.42
Henderson Webb Inc Last 4 digits of accountnumber 1 2 1 17
Nonpriority Creditor's Name
When was the debt incurred? 11/19/2011
1025 Cranbrook Dr
Number Street
. As of the date you file, the claim is: Check all that apply,
Cockeysville MD 21030 ¥ eck an inal apply
City State ZIP Coda C Contingent

 

Official Form 106E/F

Who incurred the debt? Check one.

| Debtor 1 only

QI Debtor 2 only

O) Debtor 1 and Debtor 2 only

Q At least one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

kd No

 

 

QO) unliquidated
Disputed

Type of NONPRIORITY unsecured claim:

QJ student loans

oO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(3 Debts to pension or profit-sharing plans, and other similar debts

Wi other. Specity_ Eviction

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

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Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Name

Case number (f known),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
4g Last 4 digits of account number 2 9 3 8
Lendly eS s___ 778.67
Nonpriority Creditor's Name
. When was the debt incurred? 04/22/2019
Office 207 28 Riddell Parade
Number Strest
. As of the date you file, the claim is: Check all that apply.
Elsternwick VIC 31580 ¥ een ane apely
City State ZIP Cade O Contingent
QO Unliquidated
Who incurred the debt? Check one. OQ disputed
vf Debtor 1 only
CY Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) Student loans
Atleast one of the debtors and another OQ Obligations arising out of a separation agreement or divorce that
UL) Check if this claim is for a community debt you did not report as priority claims
Q Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mf other. Specify_ Payday loan
ad No
QO) ves
FA igt 7490
; MBA Law Offices Last 4digits ofaccountnumber (§ 4 YF VU 3 360.00.
i Nonpriority Creditor's Name
; . When was the debt incurred? 09/26/2019
i 3400 Texoma Pkwy Suite 100
: Number Streat
i As of the date you file, the claim is: Check all that apply.
Sherman TX 75090 ¥ at apply
City State ZIP Code Q) Contingent
QC) uniliquidated
Who incurred the debt? Check one. Q Disputed
Wd Debtor 1 only
Ci pehtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only © Student loans
: Atleast ane of the debtors and anather O Obligations arising out of a separation agreement or divorce that
: QO) Check if this claim is for a community debt you did nat report as priority claims
: CI Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W otner. Specify Medical Debt
: | No
: QI ves
4 eal 007 0 53,057.00
: Navient Last 4 digits ofaccountnumber Vo VO of UU
Nonpriority Creditor’s Name
When was the debt incurred? 09/11/2007
PO Box 9500
Number Steet As of the date you file, the claim is: Check all that app!
‘ OU file, the claim is: .
Wilkes-Barre PA 18773 " eck nek apply
City State ZIP Code (2 Contingent

Who incurred the debt? Check one.

M Debtor 1 only

C] Debtor 2 only

CL) Debtor 1 and Debtor 2 only

CQ] At least one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

I No

LI ves

Official Form 106E/F

CJ Unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

Student loans
Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

oOo C&

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor 4 Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Name

Case number (known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

“gd

 

 

 

 

 

 

 

 

 

 

 

 

 

Navient Last 4 digits of account number oO Oo 8 oO $ 1,528.00
: Nonpriority Grediter's Name
: When was the debt incurred? 04/01/2008
: PO Box 9500
: Number Street
: 7 As of the date you file, the claim is: .
Wiles-Barre PA 18773 @ date you file, aim is: Check all that apply
Gily Stata ZIP Code ) Contingent
Q Unliquidated
Who incurred the debt? Check one. CO) disputed
A Debtor 1 only
OQ) bebter 2 only Type of NONPRIORITY unsecured claim:
5 Debtar 1 and Debtor 2 only wi Student loans
At least one of the debtors and another QQ Obligations arising aut of a separation agreement or divorce that
C] Check: if this claim is for a community debt you did not report as priority claims
OC) bents to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? OC) other. Specity
ng
Ct ves
al
Navy Federal Credit Union Last 4 digits of account number 7 4 9 Q $ 698.98
Nonpriority Creditor’s Name
When was the debt incurred? 09/26/2016
PO Box 3000 a
Number Streat
' As of the date you file, the claim is: Check all that ly.
Merrifield VA 22119 ¥ mc ereePy
Gy Slate ZIP Code CO contingent
. QY Unliquidated
Who incurred the debt? Check one. QO Disputed
| Debior 1 anly
C1 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only CJ Student loans
At least one of the debtors and another C1 Obligations arising out of a separation agreement or divorce that
1 Check if this claim is for a community debt you did not report as priarty claims
QO) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? I other. Specity Overdraft
wf No
Q] ves
$ 30.00

North American Credit Services

Nonpricrity Creditors Name

PO Box 18221

 

 

 

Number Street
Chattanooga TN 37422
City State ZIP Code

Who incurred the debt? Check one.

Ui Debter 4 onty

QO) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

 

C) Check if this claim is for a community debt

Is the claim subject to offset?

bd No

Cl ves

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number 7 4 9 O
When was the debt incurred? 09/15/2019

As of the date you file, the claim is: Check all that apply.

a Contingent
QO) unliquidated
CL} Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

oO Obligations arising out of a separation agreement or divorce that
you did nat report as priority claims

C] Debts ta Pension or profit-sharing plans, and other similar debts
I other, Specify. Medical Debt

page 16 of 21.
Debtor 1

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 40 of 74

Kathaleen Marie

Walter Allen

 

First Name Middle Name Last Name

Case number (known)

Ea Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total-claim
4 _
a North American Credit Services Last 4 digits of accountnumber 7 4 9 0 g___125.00
Nonpriority Greditor's Name
When was the debt incurred? 01/06/2019
PO Box 18221
Number Straat
As of the date you file, the claim is: Check all that apply.
Chattanooga TN 37422 youn’ Hie claim 182 Check all that apply
City State ZIP Code (CY Contingent
1 unliquidated
Who incurred the debt? Check one. C) bisputed
| Debior 1 anly
LJ Debtor 2 only Type of NONPRIORITY unsecured claim:
Q) Debtor 1 and Debtor 2 only © Student joans
4] Atteast one of the debtors and another QI Obligations arising out of a separation agreement or divorce that
C) Gheck if this claim is for a community debt you did not report as priority claims
Q1 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify_ Medical Debt
: wf No
Cl Yes
al ' 1490
North American Credit Services Last 4 digits of account number f 4 9 Q- g 205.67
Nonpriority Cracitor’s Name
When was the debt incurred? 12/12/2018
PO Box 18221 a6t
Number Street As of the date you file, the claim is: Check all that appl
: : Chee! .
Chattanooga TN 37422 ¥ ° apy
Cy Stale ZIP Gode CI contingent
OC Untiquidated
Who incurred the debt? Check one. Q) disputed
WA Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 oniy OQ) Student loans
At least one of the debtors and another ) Obligations arising out of a separation agreement or divorce that
U Check if this claim is for a community debt you did not report as priority claims
Q pebts to pension ar profit-sharing plans, and other similar debts
Is the claim subject to offset? (4 other. Specify. Medical Debt
: wf No
i Yes
[4e4| =e, 7 4 $ 125.00
North American Credit Services Last 4 digits of accountnumber _/ 4 9 0.
Nonpriority Creditor's Narne
When was the debt incurred? 09/12/2019
PO Box 18221 wei tél
Number __Street As of the date you file, the claim is: Check all that appl
: jai : Chec! .
Chattanooga TN 37422 » oe aPPly
City State ZIP Coda Q Contingent

Official Form 106E/F

U] yes

Who incurred the debt? Check one.

| Debtor 1 only

CG Debtor 2 anly

CI Debtor 4 and Debtor 2 only

C1 Atteast one af the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

Wi No

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

Q Unliquidated
QQ Disputed

Type of NONPRIORITY unsecured claim:

| Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debis
Mother. Specity_Medical Debt

page 17 of 21.
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 41 of 74

Debtor 4 Kathaleen Marie

Walter Allen

 

First Name Middie Name Last Name

Case number (knows)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

 

Last 4 digits of account number FT 4 oa Oo

 

 

 

 

 

 

 

North American Credit Services g 125.00:
Nonpriority Creditor's Name
When was the debt incurred? 01/19/2019
PO Box 18221 a
Number Street
As of the date you file, the claim is: Check all that apply.
Chattanooga TN 37422 ¥ au that apply
City State ZIP Gode QO Contingent
C) Uniiquidated
Who incurred the debt? Check one. 1 Disputed
Debtor t only
() Debtor 2 only Type of NONPRIORITY unsecured claim:
CO Debtor 1 and Debtor 2 onty QO) student leans
O1 At ieast one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
QJ Check if this claim is for a community debt you did nat report as priority claims .
CI Debts to Pension or profit-sharing plans, and other simitar debts
Is the claim Subject to offset? Mi Other. Specify_ Medical Debt
wf No
QC] Yes
+e] iat 7490
North American Credit Services Last 4 digits of accountnumber /§ 4 9 Q- $125.00
Nonpriority Creditor’s Name
When was the debt incurred? 01/08/2019
PO Box 18221 oo
Number Street
As of the date you file, the claim is: Check all that ly.
Chattanooga TN 37422 ” apy
City State ZIP Code QO) Contingent
Q) unliquidated
Who incurred the debt? Check one. C) disputed
WE Gebtor 1 only :
QI Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and another O Obligations arising out of a separation agreement or divorce that
Q] Check if this claim is for a community debt you did not report as priority claims
(} Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? hd other. Specity Medical Debt
Bin
i ) ves
[4x4 g 125.00

Planet Fitness

 

Nonpriority Creditors Name

26 Fox Run Rd #114

 

 

Number Streat
Newington NH 03801
City State ZIP Cade

Who incurred the debt? Check one.

a Debtor 1 only

CQ) Debtor 2 onty

C1 bebtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

 

C] Check if this claim is for a community debt

 

is the claim subject to offset?

a No
QO) ves

Offtcial Form 1O6E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number 7 4 9 OQ.
When was the debtincurred? 09/12/2019

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q) unliquidated
a Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO Debts to pension or profit-sharing plans, and ather similar debts
M1 other. specify Broken contract

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Debtor 4 Kathaleen Marie

Walter Alien

 

First Name Middle Name Last Name

Case number Gf known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

4

 

 

 

 

 

 

Last 4 digits of accountnumber 6 0 9 2

 

 

 

 

 

 

 

T-Mobile 3 228.00:
Nonpriority Creditor's Name
When was the debt incurred? 08/09/2017
PO Box 53410 TT
Number Street
As of the date you file, the claim is: Check all that apply,
Bellevue WA 98015 ¥ @ crams Gheck all hat apply
Gay State ZIP Code QO) contingent
Q Unliquidated
Who incurred the debt? Check one. gi Disputed
4 Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
CD Debtor 1 and Debtor 2 onty © Student loans
Q) At least one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
QO] Check if this ciaim is for a community debt you did not report as priority claims .
OC) debts to pension ar profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify Cell phone bill
i No
C) Yes
+8 ’ ooo 1 1,356.05
Verizon Wireless Last 4 digits of accountnumber 0 0 QO 1 $ 56.0 :
Nonpriority Greditor's Name
. When was the debt incurred? 11/10/2014
500 Technology Dr Suite 550 _
Number Street
. As of the date you file, the claim is: Check all that apply.
Weldon Spring MO 63304 ¥ ar apply
City State ZIP Code oO Contingent
QO) unliquidated
Who incurred the debt? Check one. Q Disputed
Ww Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
O) Debtor 1 and Debtor 2 only O] Student loans
O) Atleast one of ihe debtors and another Q Obligations arising out of a separation agreement or divorce that
( Check if this claim is for a community debt you did nat report as priority claims -
CO) bebts to pension er profit-sharing plans, and other similar debts
Is the claim subject to offset? Md other. Specity_Cell phone bill
od No
: O) Yes
i
L_| 5

 

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

C1 Debtor 1 only

O) Debtor 2 only

O) Debtor 1 and Debtor 2 only

OC] Atleast one of the debtors and another

Q] Check if this ciaim is for a community debt

Is the claim subject to offset?

Q No
QO] ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of accountnumber
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q) unliquidated
Ch Disputed

Type of NONPRIORITY unsecured claim:

CJ) Student loans

O} Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims

CI Debts to pension ar profit-sharing plans, and other similar debts

QO) other, Specify

 

page 19 of 21_
Debtor 1

Kathaleen Marie

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 43 of 74

Walter Allen

Case number (if known}

 

First Name Middle Name Last Name

es List Others to Be Notified About a Debt That You Already Listed

 

6g. Use this page only If you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from
2, then list the collection agency here. Similarly,

 

 

 

 

you for a debt you owe to someone else, list the original creditor in Parts 1 or
if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ___ _
_ iy State ZIP Cade . . ne.
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Streat CJ Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U Part 1: Creditors with Priority Unsecured Claims
Number Street L) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccount number
on ty BNE nel Code ve son uhamanor it iininnrt enna etaewcnan tai cusses osu
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): LO] Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CO] Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ _
City State ZIP Code
7 On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Steet C1 Part 2: Creditors with Nonpriority Unsecured
Claims
tly Last 4 digits of account number ___ Le

State ZIP Code

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 44 of 74

Debtor 1 Kathaleen Marie Walter Allen

First Name Middle Name Last Name

ae the Amounts for Each Type of Unsecured Claim

 

Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159,

Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. $
from Part 1 6b. Taxes and certain other debts you owe the
: government 6b. 5
6c. Claims for death or personal injury while you were
intoxicated 6c. §
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4 $
6e. Total. Add lines 6a through 6d. 6e.
5 0.00
Total claim
- Total claims 6f. Student loans Gf. $ 8,627.00
: from Part 2 6g. Obligations arising out of a separation agreement
: or divorce that you did not report as priority
claims 6g. $
8h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. +s 34,501.25
6j. Total. Add lines 6f through Gi. 8]. 5 43,128.25
Officia] Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

page21 of 21.
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 45 of 74

Fill in this information to identify your case:

Debtor Kathaleen Marie Walter Allen

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number

(if known) L) Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Q) No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
wi Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whem you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Fisherman's Village Apartments Current residence
Name

4800 Dolphin Drive

Number Street

Orlando Fl 32822
City State ZIP Gode

 

 

 

 

 

 

 

Name

 

Number Street

 

City State ZIP Code
12.3;

 

Name

 

Number Street

 

City State ZIP Code

 

 

24

 

Name

 

Number Street

 

City evita tim enetate ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

ant

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 4
Case 6:20-bk-00804-KJ Doci1 Filed 02/10/20 Page 46 of 74

Fill in this information to identify your case:

Debtor 1 Kathaleen Marie Walter Allen

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name.

 

United States Bankruptcy Court for the: Middle District of Florida

 

Case number
(If known}

 

Q) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors

Codebtors are people or entities who are also liable for an
are filing together, both are equally responsible for suppl
and number the entries in the boxes on the left. Attach th
case number (if known). Answer every question.

 

12/15

y debts you may have. Be as complete and accurate as possible. if two married people
ying correct information. If more space is needed, copy the Additional Page, fill it out,
@ Additional Page to this page. On the top of any Additional Pages, write your name and

: 1. Bo you have any codebtors? (If you are filing a joint case, do not jist either spouse as a codebter.)

4 No
LC) ves
. Within the last 8 years, have you lived ina community property state or territory? (Community Property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.}
Wi No. Go to line 3.
C) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
QL] No

Q) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

: 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
: shown in line 2 again as a codebtor only if that person is a guarantor or cosigner, Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 1 O6E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 7; Your codebtor Coiumn 2: The creditor to whom you owe the debt

 

Check ail schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
Q) Schedule D, line
Name
O Schedule E/F, line
Number Street O) Schedule G, line
City . . State #/P Code
3.2
O) Schedule D, line
Name —___——
QO) Schedule E/F, line
Number Steet QO) Schedule G, line
: City State _ __2iP Code
3.3
CQ) Schedule D, line
: Name
: QO) Schedule E/F, line
Number Street C] Schedule G, line
City. a we TUNE oceans « FU Ce ie nse s unmet simuunes nmin ype ep
Official Form 106H Schedule H: Your Codebtors

page 1of_
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 47 of 74

Fill in this information to identify your case:

Debtor 1 Kathaleen Marie Walter Allen

First Name Middle Name Last Name

 

Debtor 2
{Spouse, iffiling} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number Check if this is:
{tf knawn)
Q) An amended filing

C) A supplement showing postpetition chapter 13
income as of the following date:

 

 

Official Form 106! MM 7 DD? YYYY
Schedule I: Your Income 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known), Answer every question.

Describe Employment

4. Fillin your employment
| information. Debtor 1 Debtor 2 or nen-filing spouse

 

 

If you have more than one job,

 

 

 

 

 

 

attach a separate page with
information about additional Employment status wi Employed L) Employed
employers. LJ Not employed CD Not employed
Include part-time, seasonal, or
self-employed work. .
poy Occupation Advanced Medical Support Asst.
Occupation may include student
or homemaker, if it applies.
Employer's name Dept of Veterans Affairs
Employer's address 13800 Veterans Way
Number Street Number Street
Orlando FL 32827
City State ZIP Code City State ZIP Cade
How long employed there? § years 8 years

Era Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your noen-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.
For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. 5 3,754.00 $
_ 3. Estimate and list monthly overtime pay. 3. +3 0.00 +3
4. Calculate gross income. Add line 2 + line 3. 4. | § 3,754.00 $

 

 

 

 

 

Official Farm 1061 Schedule |: Your Income page 7
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 48 of 74

 

Debtor 4 Kathaleen Marie Walter Alien
First Name Middle Name Last Name
Copy Hime 4 ere. cssseessseses cececseceseecesesescusescessevevavanveveveveatevaveneesevens > 4.

_ 5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify: CH 13 payment, allotment

oo

~d

. Calculate total monthly take-home pay. Subtract line 6 from line 4.

8. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + Se +5f+ 5g + 5h.

Sa.
5b.
5c,
5d.
5e,
5f.

59.
5h.

8a.
8b.

&c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousaf support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.

8d.
Be.

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

 

8g. Pension or retirement income

8h. Other monthly income. Specify:

 

=]

. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + Bf +8g + Bh.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

i1,

Bf.

8g.
8h.

19.

State all other regular contributions to the expenses that you list in Schedule J.

Case number (if known)

For Debtor 1

 

For Debtor 2 or
non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 3,754.00 3
$ 230.00 5
$ 30.00 $
$ $
$ $
$ 594.00 g
$ $
$ $.
+ 3 240.00 +5
¢ 1,094.00 $
g 2,660.00 $
$ 0.00 $
$ 0.00 $
$ 0.00 $
$ 0.00
$ 0.00
$ 0.00 $
5 0.00 $
+5 0.00 +5
3 6.00 $
g 2,660.00}4] ¢ = {s 2,660.00

 

 

 

 

 

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12, Add the amount in the jast column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies 12.

13.Do you expect an increase or decrease within the year after you file this form?

wi Ne.

W.+ $ 0.00

 

 

ls _- 2,660.00

 

 

 

Combined
monthly income

 

Cl Yes. Explain:

 

 

Official Form 1061

Schedule I: Your Income

page 2

 
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Fillin this information to identify your case:

Debtor 1 Kathaleen Marie Walter Allen

 

First Name Middle Name Last Name

Debtor 2

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number
(if known)

 

 

Official Form 106J
Schedule J: Your Expenses

 

 

Check if this is:

CL) An amended filing

LY A supplement showing postpetition chapter 13
expenses as of the following date:

MM / DD? YYYY

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known}. Answer every question.

Describe Your Household

1. Is this a joint case?

wi No. Go to line 2.
LJ Yes. Does Debtor 2 live ina separate household?

 

 

 

 

 

 

 

 

LJ No
Q) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? UO No
Dependents relationship to Dependent’s Does dependent live
Do not list Debtor 1 and of Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent......0..0..0.0.ccue
Do not state the dependents’ Child 17 a No
names. Yes
Child At C1 No
ol Yes
Child 10 O) No
Yes
CL} No
CO) Yes
QI No
O) ves
3. Do your expenses include wi No

expenses of people other than
yourself and your dependents? [] Yes

 

 

Part 2: Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Inciude first mortgage payments and

any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes

4b. Property, homeowner's, or renter's insurance

4c, Home maintenance, repair, and upkeep expenses

4d. Homeowner's asscciation or condominium dues

Official Form 106. Schedule J: Your Expenses

Your expenses
seen maa

$ 1,270.00

4,
da. $
4b. $
4c. $
4d. $

page 1
Debtor 1

10.
11.

12,

13.
4.

15,

16.

17.

18.

19.

20.

Official Form 106J

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 50 of 74

Marie Walter Allen

Last Name

Kathaleen

First Natne

 

Middle Nama

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Intemet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do net include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15¢. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (it known)

6a.
6b.
6c.

6d.

12.
13.

14.

15a.
15b.
45c.

15d.

16.

17a.

17b.

i7e,

17d,

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule /, Your income (Official Form 106I).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

20a,

20b.

20c.

20d.

20e,

Your expenses

 

$

300.00
75.00
185.00

500.00

100.00
150.00
50.00

fF 7 6 -¢ fF 71 6

$ 450.00

 

 

 

$
$
$
$
$ 350.00
$
$ 0.00
5 0.00
$ 0.00
$
$
$ 0.00
$ 0.00
§
$
$
$

Rad

page 2
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 51 of 74

 

 

 

 

Debtor 1 Kathaleen Marie Walter Allen Case number (it nawn),
First Name Middle Name Last Name
21. Other. Specify: 21. +5
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. | 3,130.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, fram Official Form 106J-2 22b. $ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. 5 3,130.00

 

 

 

23. Calculate your monthly net income.

§ 2,660.00

23a. Copy line 12 (your combined monthly income) from Schedule f. 23a.

23b. Copy your monthly expenses from line 22c¢ above. 23b.  § 3,130.00

 

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c.

§ -470.00

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

wi No.

C) Yes. Explain here:

Official Form 106J Schedule J: Your Expenses page 3
Case 6:20-bk-00804-KJ Doc1_ Filed 02/10/20

Fill in this information to identify your case:

Debtor 1 Kathaleen Marie Walter Allen

First Name: Middie Name Last Name

 

Debtor 2
{Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Cour fer the: Middle District of Florida

Case number
(if known}

 

 

 

Official Form 106Dec

 

Page 52 of 74

CY Check if this is an
amended filing

Declaration About an Individual Debtor’s Schedules 42445

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wd No

LJ) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

  

x

 

 

 

bl
ignature of Debtor 1 Signature of Debtor 2

Date 02/10/2020 Date
MM/ DD? YYYY MM? DD i YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 53 of 74

Fill in this information to identify your case:

 

 

 

Debtor 1 Kathaleen Marie Walter Alien

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of

Case number

(If enown) LJ Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number {if known). Answer every question.

Ea Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

LJ Married
wi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

LJ No

w Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
QO Same as Debtor 4 C Same as Debtor 1
a7 S. Semoran Blvd From 2/1/18 From
treet
lumber ie To 4/24/20 Number Street To
#7
Orlando Ft 32822
City State ZIP Code City State ZIP Code
(2 same as Debtor 1 CE same as Debtor 1
e778 Fevenoak Rd From B/1/17 From
umber treet Number Street
To 1/31/18 mer we To
#01
Rosedale Md 21237
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Califormia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.}

Wf No

CL) Yes. Make sure you fill out Sehedtule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor 1 Kathaleen Marie Walter Allen

Case number tiFxnown),
First Name Middle Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
IF you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

¥ No

LJ Yes. Fill in the details.

 

 

Sources of income Gross income Sources of income Gross income
Check all that apply. {before deductions and = Check all that apply. (before deductions and
exclusions) exciusians)
F . wi Wages, commissions, QO Wages, commissions,
rom January 1 of current year until bonuses, ios 5 5,669.23 bonuses. tos $
the date you filed for bankruptcy: ° oP 8, IP
OQ Operating a business U Operating a business
. wi Wages, commissions, O Wages, commissions,
For last calendar year: bonuses, tips 5 42,474.64 bonuses, tips 5
{January 1 to December 31,2019 }- LL) operating a business L) Operating a business
YYYY
For the calendar year before that: wh Wages, cammissions, O Wages, cammissions,
bonuses, tips $ 44 203.98 bonuses, tips §
(January 1 to December 31,2018) Operating a business : LD operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of offer income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits: royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that yau listed in line 4,

Wf No

L] Yes. Fill in the details.

 

 

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below, each source
(before deductions and {before deductions and
exclusions) exclusions)
From January 1 of current year until], <————__._. $8 $
the date you filed for bankruptcy:
For last calendar year: 3
(January 1 to December 31,2019 5

 

YY

 

For the calendar year before that:

(January 1 to December 31,2018
YYVyY

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 55 of 74

Debtor 4 Kathaleen Marie Walter Allen Case number (if taown)

 

 

First Name Middle Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6 Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
C] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

| Ne. Go to line 7.

C) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

ZY Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

LI No. Go to fine 7.
wd Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
Fisherman's Village Apts 01/24/2020 ¢ 1,612.24 ¢ 0.00 O mortgage
Crecitor’s Name
. Oc
5800 Dolphin Dr st
Number Street O1 credit card

 

QO Loan repayment

 

Orland FL 32899 LJ) Suppifers ar vendors
nana ,
City Stale ZIP Code Mi other Move-in

 

 

 

 

$ $ L Mortgage
Creditor's Name
CQ) Car
Number Street CQ) Credit card

QQ Loan repayment

 

Q) Suppliers or vendars

 

 

 

 

City Slate ZIP Code CI other
$ 5 Q Mortgage
Creditors Name
) Car
Number Street Ch Credit card

) Loan repayment

 

| Suppliers or vendors

C0 other

 

City State ZIP Code

 

Official Form 107 ' Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
Debtor 1 Kathaleen

First Name:

Walter Allen

Last Name

Case number tif known)

Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 56 of 74

 

7. Within 1 year before you filed for bankruptcy, did you make a payment ona debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in contral, or owner of 20% or more of their voting securities; and any managing

agent, Including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

W No

C) Yes. List all payments to an insider.

Dates of
payment

 

Insider's Name

Amount you still

 

 

Number Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

City

State ZIP Code

Reason for this payment

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

Wi No

L) Yes. List all payments that benefited an insider.

Dates of
payment

 

Insider's Name

Amount you still

 

 

Number Street

 

 

City

State ZIP Coda

 

Insider's Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Reason for this payment

page 4
Case 6:20-bk-00804-KJ Doc1 Filed 02/10/20 Page 57 of 74

Debtor 4 Kathaleen Marie Waiter Allen

First Name: Middle Name Last Name

Case number (if known}

 

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custedy modifications
and contract disputes.

Wi No

C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title. Court Name O) Pending
on appeal
Number Street OY concluded
Case number
City State ZIP Code
Gasetile ‘Soul None LI} Pending
LY on appeal
Number Street QC) Concluded
Case number
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

of No. Go to line 11.
Q) Yes. Fil in the information below.

Describe the property Date Value of the property

 

Creditar’s Name

 

 

Number Street Explain what happened

QO Property was repossessed.
QO Property was foreclosed.
Q) Property was garnished.

 

 

City State ZIP Code Q Property was attached, seized, or levied.

 

Describe the property Date Value of the property

 

Crediter’s Name

 

Number Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.

 

Property was garnished.
Property was attached, seized, or levied.

City State ZIP Code

Oooo

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor?  Kathaleen Marie Walter Allen Case number (if known]

 

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

W No

L) Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken

 

Creditors Name

 

Number Street

 

   

 

City Stata ZIP Code Last 4 digits of account number: XXXX-___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

wi No
OQ) Yes

Ea List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wi No

(J) Yes. Fill in the details for each gift.

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_ $
Person to Whom You Gave the Gift
$
Number Street
Gity State ZIP Cade
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person coun . oe 7 ccnuanmanananninanng +e gifts
$
Person to Whem You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 4 Kathaleen Marie Walter Allen Case number (irtnown)

First Name Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $606 to any charity?

Wi No

QO) Yes. Fill in the details for each gift or contribution.

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity's Name
$

 

Number Street

 

City State ZIP Code

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

C) Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred | a, o. loss lest

include the amount that insurance has paid. List pending insurance

claims on tine 33 of Schedule A/B: Property.

 

List Gertain Payments or Transfers

16, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

bd No

UI Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
Parson Who Was Paid cst en ences wow, Made
Number Street $
$

 

City State ZIP Code

 

Email er website address

 

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
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Debtor 1 Kathaleen Marie Walter Alken Case number (itanoum;
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of

transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
Promised to help you dea! with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

W No

LJ Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
_ made
Person Who Was Paid
Number Street ee $
$

 

 

City Stata ZIP Cada

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have atready listed on this statement.
Wf No
Q) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Whe Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
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Dabtor 1 Kathaleen Marie Walter Allen Case rumber (irknewn)

First Name Middle Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-profection devices.)

I Neo

C) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W No

L) Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, _—_ closing or transfer
or transferred
Name of Financial Institution
XXKX— C] checking $
Number Straat O Savings

O Money market

 

 

 

 

Qi Brokerage
City State ZIP Code OO Other
XXXX— QO Checking $
Name of Financial Institution
QO Savings
Number Street a Money market

Q Brokerage
Q) other

 

 

City State ZIP Code

21, Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

I No
C] Yes. Fill in the details.

 

 

Whe else had access to it? Describe the contents Do you still
have it?
ONo
Name of Financial institution Name : CO) Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

 

City State 4iP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
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Debtor 1 Kathaleen Marie Walter Allen

Case number (itnown)
First Name Middle Name Lasi Name

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

CQ) Yes. Fill in the details.

 

 

 

 

 

 

Who else has or had access to it? Describe the contents Do you still
be cvenonnne _ have it?
CINo
Mame of Storage Facility Name QO Yes
Number Street Number Street
City State ZIP Code
City State ZIP Code
a Identify Property You Hold or Control for Someone Elso
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone,
No
LJ Yes. Fill in the details.
Where is the property? Describe the property Value

 

 

Owner's Name

 

Numb Street

 

Number Street

 

 

 

 

City State ZIP Code

 

City State ZIP Code

Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

8 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of

hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,

including statutes or regulations controlling the cleanup of these substances, wastes, or material.

% Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or

utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous materia! means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

LJ Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, if you know it
Name of site Governmental unit
Number Street Number Street
City State ZIP Code
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

Date of notice

page 10
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Debtor1 |Kathaleen Marie Walter Allen Case number inom
Firsi Name: Middle Name Last Name

 

 

25.Have you notified any governmental unit of any release of hazardous material?

Mi No

L] Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
i Name of site Governmental unit i
Number Street Number Street |
i
:
i
j

j
:
| City State ZIP Code

City State ZIP Code

26.Have you been a party in any judicial or administrative Proceeding under any environmental law? Include settlements and orders.

Wi No

(2 Yes. Fill in the detaits.

 

 

 

 

 

Court or agency Nature of the case Status of the
case
Case title QO .
Court Nama Pending
| On appeal
Number Street Ql Concluded
Case number city State ZIP Code

Cra Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
D) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
QO) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Cha Partner in a partnership
C) An officer, director, or managing executive of a corporation

 

( An owner of at least 5% of the voting or equity securities of a corporation

wi No. None of the above applies. Go to Part 12.
C) Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Empioyer Identification number
Do not include Social Security number or ITIN.

 

Business Name

 

Number Street

 

 

Dates business existed

 

: From To

 

Clty State ZIP Coda a. ae
Describe the nature of the business Employer Identification number
__ Do not include Social Security number or ITIN.

 

Business Name

EIN: -

 

Number Street
Name of accountant or bookkeeper Dates business existed

 

 

From To

 

 

 

City State ZIP Code

 

Official Form t07 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11
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Debtor 4 Kathaleen Marie Walter Allen Case number (irsnewn
First Name Middia Name Last Name

 

 

Employer Identification number
_ Bo net include Social Security number or ITIN.

Describe the nature of the business

 

Business Name :
: EIN: -

 

 

Number Street Name of accountant or bookkeeper Dates business existed
: From Too

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

CI No
LI Yes. Fill in the details below.

Date issued

 

Name MM/ ODI YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and [ declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x (WI x

 

 

Signature of Debtor 7 Signature of Debtor 2
pate 02/10/2020 Date

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107}?

wi No
UL Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
wf No

C) Yes. Name of person. . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119}.

 

 

 

Official Farm 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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Fillin this information to identify your case:

Debtor 4 Kathaleen Marie Walter Allen

First Nene Middle Name Last Name

 

Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number Q) Check if this is an
{lt known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 i215

 

If you are an individual filing under chapter 7, you must fill out this form if:

@ creditors have claims secured by your property, or

@ you have leased personal property and the Jease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supptying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known},

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?

Creditor’s .

name: Purchasing Power CJ Surrender the property. i No

_ ©) Retain the property and redeem it. Ci Yes
propery of iPhone 6s (2) QJ Retain the property and enter into a
securing debt: Michael Kors Purse Reaffirmation Agreement.
Coach Purse 4 Retain the property and [explain]:

no longer have the property

 

Creditor's

Credit Luther Sales LJ Surrender the property. (4 No
7 C) Retain the property and redeem it. OQ) Yes

propery of | aptop ; CJ Retain the property and enter into a

securing debt: Nintendo Wii Reaffirmation Agreement.

wi Retain the property and [explain]:
no longer have the property

 

 

 

ca s Progressive Leasing CI Surrender the property. Wd No
- QC) Retain the property and redeem it, 3 Yes
tenet of Household furniture CJ Retain the praperty and enter into a
securing debt: Reaffirmation Agreement.
Adi Retain the property and [explain]:
no longer have the property
Creditor 's USA Discounters CL) Surrender the property. id No
(J Retain the property and redeem it. CU Yes
property of CJ Retain the property and enter into a
securing debt: Reaffirmation Agreement,

a Retain the property and [explain]:
no longer have the property

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
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Debtor 4 Kathaleen Marie Walter Allen Case number (if known)

 

 

First Name Middte Name Last Name

ra List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effact; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wil the lease be assumed?

Lessor’s name: Fishermans Village QL) No

wi Yes

Description of leased Apartment

 

 

 

 

 

 

property:

Lessor’s name: C) No
L) Yes

Description of leased

property:

Lessors name: LI No

Description of leased O) Yes

property:

Lessors name: LI No
L) Yes

Description of leased

property:

Lessor's name: Oi No
L) Yes

Description of leased

property:

Lessor's name: UO No

ae UO Yes

Description of leased

property:

Lessor’s name: OO Noe
Q] ves

Description of leased
property:

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

A YOELIUI

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 02/10/2020 Date
MM/ BD f YYYY MMi DDT YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
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Fill in this information to identify your case:

Walter Allen

Last Name

Marie

Middle Name

Kathaieen

First Name

Debtor 1

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name
United States Bankruptcy Court for the: Middle District of Florida

Case number
(lf known)

 

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Check one box only as directed in this form and in
Form 122A4-1Supp:

J 4. There is no presumption of abuse.

C) 2. The calculation to determine if a presumption of
_ abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2),

L] 3. The Means Test daes not apply now because of
qualified military service but it could appiy later.

 

 

C) Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies, On the top of any
additional pages, write your name and case number (if known), If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 1224-1Supp) with this form,

 

12/19

 

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
WJ Not married. Fill out Column A, lines 2-11.
L) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11,

LJ Married and your spouse is NOT filing with you. You and your spouse are:
Q Living in the same household and are not legally separated, Fill out both Columns A and B, lines 2-11,

LJ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nenbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the Space.

Column B
Debtor 2 or
non-filing spouse

$_3,996.91 $

Column A
Debtor 1

2, Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions).

3, Alimony and maintenance payments. Do not include payments from a spouse if

 

 

 

 

 

Column B is filled in, 4 0 $
4. All amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. Include regular contributions

from an unmarried partner, members of your household, your dependents, parents,

and roommates. Include regular contributions from a spouse only if Column B is not

filled in. Do not include payments you listed on line 3. $e $
5. Net income from operating a business, profession, Debtor 41 Debtor 2

or farm

Grass receipts (before all deductions} Ss

Ordinary and necessary operating expenses —$ -$

Net monthly income from a business, profession, or farm $ Os roPy $ 0 $
6, Net income from rental and other real property Debtor 1 Debtor 2

Grass receipts (before all deductions) $ $

Ordinary and necessary operating expenses -3 ~$

Net manthly income from rental or other real property § 0 5 noe, 5 0
7. Interest, dividends, and royalties $ 0

 

 

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly Income page 1

 
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Debtor 4 Kathaleen Marie Walter Alien Case number or snawn)
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0 $

1

=

 

10,

 

12.

13.

14.

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: ......

 

FOOT YOU osc sssscsscssossseesnsessesssscsscsscessosnvassussssssasessescersseesesssneeree
FOP YOUP SPOUSE 0... e.sesssssssscscccsvsssnessessuserceccecsseesessaneasseees 5

Pension or retirement income. Do not include any amount received that was a

benefit under the Social Security Act. Also, except as stated in the next sentence, do

not include any compensation, pension, pay, annuity, or allowance paid by the

United States Government in connection with a disability, combat-related injury or

disability, or death of a member of the uniformed services. If you received any retired

pay paid under chapter 61 of title 10, then include that pay only to the extent that it

does not exceed the amount of retired pay to which you would otherwise be entitled if § 0

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

retired under any provision of title 10 other than chapter 61 of that title. $
Income from all other sources not listed above. Spacify the source and amount.
Do not include any benefits received under the Social Security Act; payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources ona
separate page and put the total below.
Oo 5
$
Total amounts from separate pages, if any. +S +3
. Calculate your total current monthly income. Add lines 2 through 10 for each + ~
column. Then add the total for Column A to the total for Column B, g 3,956.91 $ “Ig 3,956.91
Total current
monthly income
Determine Whether the Means Test Applies to You
Calculate your current monthiy income for the year. Follow these steps: _. ee
12a. Copy your total current monthly income fromm in€ 11... s-sssusseantscescsnstsnenatacrunnmtansnueneseuee, COPY line 11 here> g_ 3,956.91 |
Multiply by 12 (the number of months in a year). x 12
12b, The result is your annual income for this part of the form. 12b. a $ 47,482.92 |
Caiculate the median family income that applies to you, Follow these steps:
Fill in the state in which you live. Florida
Fill in the number of people in your household. 4
Fill in the median family income for your state and size of household. 0. soovesenssststansseeatesenstsnasuaneentsunaseesenniast ¢_ 78,883.00

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office,

How do the Jines compare?

14a, wd Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 122A-2

14b. Q) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is defermined by Form 122A-2,
Go to Part 3 and fill out Form 122A—2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

 
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Debtor 4 Kathaleen Marie Walter Allen Case number ¢ known)

First Name Middle Name Last Name

a Sign Below

 

| By (1M | declare tf penalty of perjury that the information on this statement and in any attachments is true and correct.

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 02/10/2020 Date

MM/ DD /YYYY MM/ DD /YYvY

If you checked line 14a, do NOT fill out or file Form 1224-2.

If you checked line 14b, fill out Form 1224-2 and file it with this form.

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly Income page 3

 
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Mailing Matrix

Advent Health East Orlando

7727 Lake Underhill Rd.
Orlando, FL 32822

Amscot
PO Box 25137
Tampa, FL 33622

ARS

1643 NW 136" Ave
Building H

Suite 100

Sunrise, FL 33323

Bank of America
100 N. Tryon St.
Charlotte, NC 28255

BGE
100 Constellation Way
Baltimore, MD 21202

Bright House Network
3201 E Colonial Drive
Orlando, FL 32803

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Clearbalance
PO Box 927830
San Diego, CA 92192

Comcast
1 Comcast Center

Philadelphia, PA 19103

Commonwealth Financial Systems
245 Main Street
Dickson City, PA 18519

Fed Loan Servicing
PO Box 60610
Harrisburg, PA 17106

Franklin Square Hospital
9000 Franklin Square Dr.
Baltimore, MD 21237

Friendly Finance
6340 Security Blvd.
Suite 200

Baltimore, MD 21207

Geico
1 Geico Plaza

Bethesda, MD 20810

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Green Arrow Loans
PO Box 170
Finley, CA 95435

Good Samaritan Hospital
5601 Loch Raven Blvd.
Baltimore, MD 21239

Henderson Webb Inc.
1025 Cranbrook Rd
Cockeysville, MD 21030

Lendly
Office 207 28 Riddell Parade,
Elsternwick VIC 3185

Luther Sales

129 Oser Ave.

Suite A

Hauppauge, NY 11788

MBA Law Offices/CAPIO
3400 Texoma Pkwy.

Suite 100

Sherman, TX 75090

Navient
PO Box 9500
Wilkes-Barre, PA 18773

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Navy Federal Credit Union
PO Box 3000
Mernifield, VA 22119

North American Credit Services
PO Box 18221
Chattanooga, TN 37422

Planet Fitness

26 Fox Run Rd.
Room 114
Newington, NH 03801

Progressive Leasing LLC
256 West Data Dr.
Draper, UT 84020

Purchasing Power

1349 W Peachtree St. NW
Suite 1100

Atlanta, GA 30309

T-Mobile Bankruptcy Team
PO Box 53410
Bellevue, WA 98015

USA Discounters LTD
3320 N Holland Rd
Virginia Beach, VA 23452

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Verizon Wireless
Bankruptcy Administration
500 Technology Drive
Suite 550

Weldon Spring, MO 63304

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